United States District Court
Northern District of California

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

WILLIAM HERESNIAK,
Plaintiff,

Case No. 22-cv-03074-CRB

y JUDGMENT

ELON R. MUSK, et al.,
Defendants.

 

 

For the reasons explained in the Court’s order dismissing this case, see dkt. 82,
judgment is hereby entered in favor of Defendants Elon R. Musk, Twitter, Inc., X
Holdings I, Inc., and X Holdings IJ, Inc., and against Plaintiff William Heresniak.

IT ISSO ORDERED.

Dated: May 22, 2023 é / Y

 

CHARLES R. BREYER
United States District Judge

 
